             Case 1:21-cv-00189-RA Document 28 Filed 05/19/21 Page 1 of 3



                                  250 VESEY STREET • NEW YORK, NEW YORK 10281.1047

                                TELEPHONE: +1.212.326.3939 • FACSIMILE: +1.212.755.7306


                                                                                              Direct Number: (212) 326-3429
                                                                                                 trgeremia@jonesday.com




                                                  May 19, 2021


BY ECF

The Honorable Ronnie Abrams
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

             Re:       State of New York v. Diocese of Buffalo, No. 1:21-cv-00189-RA (S.D.N.Y.)

Dear Judge Abrams:

        We represent the Catholic Diocese of Buffalo in this action and write in response to the
plaintiff’s May 13, 2021 letter concerning “new, non-binding authority” from two out-of-circuit
lower courts, one in the District of Columbia and the other a Bankruptcy Court in the Northern
District of Texas. See ECF No. 27. The two submitted decisions are not only “non-binding,”
they are also inapposite to the plaintiff’s pending motion to remand this action. Indeed, the
plaintiff’s letter amounts to no more than the Office of the Attorney General (“OAG”) touting
two recent procedural rulings in other, unrelated matters that concern it and the National Rifle
Association of America, Inc. (“NRA”).

         As an initial matter, neither of these decisions in any way impacts the OAG’s failure to
timely oppose—and, thus, the OAG’s waiver of any opposition to—the Diocese’s wholly
separate ground for removal of this action pursuant to 28 U.S.C. § 1441(a). As the Diocese set
out in its opposition brief, this action was properly removed pursuant to § 1441(a), on the basis
that the Court has original jurisdiction over it because it is, as the OAG concedes, “related to” the
Diocese’s pending petition for bankruptcy protection. See ECF No. 22 at 8-14. Neither of the
two submitted decisions addresses this independent basis for the Diocese’s removal of this action
and for denying the OAG’s remand motion.

       The two decisions submitted by the OAG also have no bearing on the Diocese’s separate
ground for removing this action under 28 U.S.C. § 1452(a). The OAG invokes an order from the
Bankruptcy Court for the Northern District of Texas dismissing a bankruptcy petition on the
grounds that the NRA had filed it in bad faith. See ECF No. 27 at 2-3. That ruling has nothing
to do with the OAG’s remand motion here, or even this case in general. Nowhere in that
decision did the bankruptcy court address the scope of a state’s “police or regulatory power,”



AMS TERDAM  ATL ANTA  BEIJING  BOS TO N  BRISBANE  BRUSSEL S  CHICAGO  CLEVEL AND  COLUMBUS  DALL AS  DETROIT
DUBAI  DÜSSELDORF  FRANKFUR T  HONG KONG  HOUS TON  IRVINE  LO NDON  LOS ANGELES  MADRID  MELBOURNE
MEXICO CIT Y  MIAMI  MIL AN  MINNEAPOLIS  MOSCOW  MUNICH  NEW YORK  PARIS  PER TH  PITTSBURGH  SAN DIEGO
SAN FRANCISCO  SÃO PAULO  SAUDI ARABIA  SHANGHAI  SILICON VALLEY  SINGAPORE  S YDNEY  TAIPEI  TOKYO  WASHINGTON
          Case 1:21-cv-00189-RA Document 28 Filed 05/19/21 Page 2 of 3




Hon. Ronnie Abrams
May 19, 2021
Page 2


removal, or remand. Rather, the bankruptcy court dismissed the NRA’s petition for bankruptcy
protection for cause on the basis of a finding that the NRA had filed its petition in bad faith for
the purpose of gaining an unfair litigation advantage in the OAG’s civil enforcement action
against the NRA. See ECF No. 27 Ex. B at 33 (“The Court finds, based on the totality of the
circumstances, that the NRA’s bankruptcy petition was not filed in good faith but instead was
filed as an effort to gain an unfair litigation advantage in the NYAG Enforcement Action and as
an effort to avoid a regulatory scheme.”). In making that ruling, the bankruptcy court found,
among other things, that the NRA is solvent and financially healthy, that potentially adverse
outcomes in pending litigation against the NRA did not warrant its filing for bankruptcy
protection, and that an extensive record adduced at a trial showed that the NRA had filed for
bankruptcy in order to avoid a remedy (dissolution) sought by the OAG in a separate
enforcement action against the NRA. See id. at 31-32 (finding that “the NRA is financially
healthy and potentially adverse litigation outcomes are too attenuated to justify a good faith
bankruptcy filing” and that the NRA “us[ed] this bankruptcy as a tool to win its dissolution
lawsuit, and that is not an appropriate use of bankruptcy”).

        This case is not remotely comparable. The Diocese filed for bankruptcy protection here
eight months before the OAG commenced this action. And unlike in the NRA’s bankruptcy
case, there is no basis to contest—nor does the OAG or any of the Diocese’s stakeholders
contest—that the Diocese had a good-faith basis to file for bankruptcy protection in the wake of
the assertion against the Diocese of hundreds of long time-barred claims that the New York State
legislature revived by enacting the Child Victims Act.

        The Diocese is also not trying to use its bankruptcy filing to avoid any remedy sought by
the OAG or this litigation in general. Indeed, the NRA case involved a remedy—dissolution—
that the OAG is not seeking against the Diocese. Instead, as the OAG concedes, this action is
“related to” the Diocese’s pending bankruptcy case, which the Diocese filed not “to shirk or
avoid responsibility for any past misconduct by clergy or for any decisions made by Diocesan
authorities when addressing that misconduct,” but rather to put in place “an orderly claims
administration process that will ensure a more equitable distribution of funds to creditors,
including victims of abuse” and to “bring about a reorganization of the Diocese that will ensure
that the mission of the Diocese may continue to be fulfilled in service of the Catholic faith.”
ECF No. 7 ¶¶ 10-11, In re The Diocese of Buffalo, N.Y., No. 1:20-bk-10322 (Bankr. W.D.N.Y.).
As the Diocese showed in its opposition brief, the OAG’s concession that this civil action against
the Diocese is related to the Diocese’s pending bankruptcy proceeding presents two separate
bases for removing this action under federal law and litigating it in this District Court. See ECF
No. 22 at 15-21.

        The other decision submitted by the OAG, by the District of Columbia Superior Court, is
also inapposite. It principally addresses, on a motion for reconsideration, whether the
          Case 1:21-cv-00189-RA Document 28 Filed 05/19/21 Page 3 of 3




Hon. Ronnie Abrams
May 19, 2021
Page 3


appropriate test for determining whether to apply the automatic stay in bankruptcy (see 11 U.S.C
§ 362(b)(4)) to the District of Columbia’s civil action against the NRA should be stated as the
“pecuniary interest” or “pecuniary advantage” test. See ECF No. 27 Ex. A at 6-12 (addressing
this issue at length under the heading “The Court Applied the Wrong Test When Determining
Whether the Exception to the Automatic Stay Applies”). The D.C. Court’s decision did not cite
a single decision within the Second Circuit. The Court’s discussion, and ultimate determination
to reconsider its prior ruling on the matter, is also not pertinent here because, as the Diocese
pointed out in its opposition brief (ECF No. 22 at 16), the OAG’s remand motion is predicated
on the “public policy” test for determining whether this action is an exercise of the “police or
regulatory power,” not the “pecuniary purpose” test. Further still, the NRA case does not present
anything like the circumstances here, where the OAG is not principally seeking to enforce New
York’s public policy but has expressly and repeatedly stated in its Complaint that it is seeking to
enforce Catholic Church policy, as the Diocese illustrated in detail with two tables attached to its
opposition papers. See ECF Nos. 22-2 & 22-3 (Exhibits A and B to the Declaration of Todd R.
Geremia).

        The OAG is thus wrong when it claims that the “D.C. Superior Court considered and
rejected many of the same arguments that Defendants assert here.” ECF No. 27 at 2. In addition
to the distinctions noted above, nothing in the NRA case touched upon the First Amendment
issue squarely presented here: that principles of religious liberty embodied in the First
Amendment do not allow the OAG to exercise any regulatory authority to “inquir[e] into
whether the Church had followed its own procedures,” as the OAG is expressly seeking to do
through this lawsuit. Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S.
171, 187 (2012) (stating that, “by inquiring into whether the Church had followed its own
procedures, the State Supreme Court had ‘unconstitutionally undertaken the resolution of
quintessentially religious controversies’” (quoting Serbian E. Orthodox Diocese for U.S. &
Canada v. Milivojevich, 426 U.S. 696, 720 (1976)).

       The two decisions highlighted by the OAG are not pertinent to the OAG’s motion to
remand this action. They do not provide any basis for granting that motion over the authority in
the Second Circuit and by the U.S. Supreme Court set out in the Diocese’s opposition brief.

                                                  Respectfully submitted,



                                                  Todd R. Geremia

cc:    Dennis C. Vacco, Esq. (by ECF)
       Emily Stern, Esq. (by ECF)
